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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLORADO

Criminal Case No. 12-cr-00033-JLK-2

UNITED STATES OF AMERICA,

       Plaintiff,

v.


1.     JAMSHID MUHTOROV,
2.     BAKHTIYOR JUMAEV,

       Defendants.


             NOTICE OF REJECTION OF U.S. SENTENCING GUIDELINES


       To assist both Defendants Jamshid Muhtorov and Bakhtiyor Jumaev and the government

in crafting their arguments for sentencing, I advise that I will not be following the U.S.

Sentencing Guidelines in imposing their sentences. After reviewing the filings related to Mr.

Jumaev’s sentencing, the applicable Guidelines, and the relevant case law, I have determined that

the Guidelines are inadequate and illogical when applied to the facts of these Defendants. My

forthcoming sentencing orders for each Defendant will elaborate on this conclusion.



       DATED this 2nd day of July, 2018.


                                                              ______________________________
                                                              JOHN L. KANE
                                                              SENIOR U.S. DISTRICT JUDGE
